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                           Exhibit 1
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                         Exhibit 1-C
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                         Exhibit 1-D
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     S~LECTED   SOURCE:                                                    SUGGESTED/RECOMMENDED SOURCES:
     Kit Construction                                                      1. Kit Construction
                                                                           2. V2V Solutions, LLC
                                                                           3. S    id
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VENDOR SELECTION BASIS:                                PURCHASING        SHIP TO:
       LOW BID                                              CODE                  TOSHIBA INTERNATIONAL CORPORATION
   x   ONLY AVAILABLE SOURCE                                                      13131 WEST L1TILE YORK ROAD
   x   BEST DELIVERY                                  11<too - \,)'lfl             HOUSTON, TX 77041


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   x   CONTRACT                                                                   ATIN:      Pablo D'Agostino
       OTHER (EXPLAIN)

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SHIP VIA: Best Way
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     1                                                                                                                           $168,720.00
                                      tontrol Plant Tester Circuits Replacement and a new 480V 400AMP feeder.




                                      !please see attached




                                            NTE**$168,720.00

                     Shipping

                         TAX

             ACCOUNT NO.1 JOB NO.1 INTENDED USE                                   BUDGET AMOUNT                    SUB TOTAL AMOUNT
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         ~T~STRUCTI~S~CES         INC
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                   Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 33 of 144
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 Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 34 of 144



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...
                     KIT Construction Services, Inc.
                     BUILDING TRUST & CONFIDENCE



December 2, 2014



Mr. Pablo D'Agostino
Corporate Facilities Manager
Toshiba International Corporation (TIC)
13131 West Little York Rd
Houston, Texas 77041

Ref:       Control Plant Tester Circuits Replacement and a new 480V 400 AMP feeder.


Dear Mr. D'Agostino,


It is our understanding that Toshiba International Corporation (TIC) intends to replace existing Control
Plant Tester circuits and a new 480V 400 AMP feeder for proposed TMPE Area build-out within Toshiba
International Corporation's (TIC) Industrial Division facility located at 13131 W Little Your Road,
Houston, Texas.


KIT Construction Services, Inc. (KCSI), is pleased to submit this proposal to assist the above mentioned
project as outlined in the following scope.


Scope of Work:
       •   New 480V 30400 AMP primary feeders from Nehl substation (Approximate 200-ft).
       •   New I-Line Distribution Panel with new breakers.
       •   New 60 AMP circuit to existing Test Panel HVMV (Approximate 140-ft).
       •   New 200 AMP circuit and a new Test Panel TP2B for UPS Testing Area (Approximate 375-ft).
       •   Reroute and connect One (1) 60 AMP and One (1) 30 AMP existing circuits to Test Panel TP2B.
       •   All conduits and conductors shall be sized per NEe.
       •   All panels and breakers shall be Square D standard AIC rating.
       •   All conductors shall be insulated copper and to be terminated per TIC standards.
       •   EMT conduits to be installed overhead with GS supports mounted on existing roof structure.
       •   Grounding installation per TIC requirements.
       •   Work to be performed by Licensed Journeymen Electricians.
       •   Feeder conduits within occupied areas to be installed during weekend hours to minimize
           interruption to ongoing manufacturing work.
       •   Connection Work at Substation to be performed under the supervision of TIC facility
           maintenance department during off-peak hours.
       •   Electric powered equipment shall be used for this conditioned space.




           2000 W Sam Houston Parkway S, Suite 1400, Houston, Texas 77042 • Tel: 713-783-8700 • Fax: 713-783-8747
 Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 35 of 144
                                                                                   KIT Construction Services, Inc.


TOTAL LUMP SUM PRICE:

    KIT Construction Services, Inc. will provide the above described construction services in
    accordance TIC purchase order.


    Compensation for this scope will be on a lump-sum basis as:                                      $168,720.00* *

        ** PRICE EXCLUDES: Applicable taxes and alterations from the above specifications.
        All material shall be as specified. All work to be completed in a workmanlike manner according to standard
        practices. Any alteration or deviation from above specifications involving extra cost will be executed only upon
        written orders and will become an extra charge over and above the estimate. All agreements contingent upon
        strikes, accidents, or delays beyond our control. Owner to carry fire, tomado, and any other necessary
        insurances.

        This proposal is further qualified by the following: Quantities are outlined in the proposal and any scope of work
        not listed shall be assumed as not part of this lump sum scope. Any cost not provided by subcontractor /
        supplier will be assumed to be a "guess" and to be verified by owner.

        "Regulated by The Texas Department of Licensing and Registration, P.O. Box 12157 Austin, TX 78111, 1-800-
        803-9202. " Quotation is valid for 30 days from the date on this proposal.



Project Schedule:


        We will strive to perform our services to achieve project goals on time. We will provide time
        schedule for our services upon receiving project schedule from you.



KCSI appreciates the opportunity to provide you with our services. If I can be of any, further service or
answer any additional questions, please feel free to call me at (713) 783-8700. We look forward to
working with you on this very important project.


Sincerely,




Sudhakar Kalaga, P.E.
President




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   V2V Solutions LLC

                                                                                  December 02, 2014



Mr. Pablo D'Agostino
Corporate Facilities Manager
Toshiba International Corporation (TIC)
13131 West Little York Rd
Houston, Texas 77041



Ref:   Proposal for Control Plant Tester Circuits Replacement and a new 480V/400 AMP feeder
       at Toshiba Industrial Corporation



Dear Mr. D'Agostino,

In response to your request for quotation, I am pleased to submit this proposal to provide
turnkey replacement of existing Control Plant Tester circuits and a new 480V 400 AMP feeder for
proposed TMPE Area build-out at the Toshiba International Corporation's (TIC) Industrial Division
facility located at 13131 West Little York Road, Houston, Texas.

V2V Solutions is a design engineering and construction firm that provides comprehensive
solutions in the area of manufacturing, processing, cost containment, and regulatory compliance.

Our trained and experienced personnel with expertise in mechanical engineering, electrical
engineering, chemical engineering, and Industrial engineering, ensure that our customers receive
the highest degree of professionalism and service.

SCOPE OF WORK

We will perform an on-site evaluation of the Toshiba International Corporation's (TIC) Industrial
Division facility at the referenced area. Our trained and insured personnel will assess and obtain
the necessary information at the facility to minimize construction oriented inconvenience to TIC
and its employees. Following is a general outline of the construction items:


   •   Project Management & Construction Permits.
   •   Pre-construction meetings with the TIC plant personnel.
   •   Approvals on the construction schedule and temporary detour paths.
   •   General Conditions, construction inspection and testing.
   •   New 480V 30 400 AMP primary feeders from Nehl substation (Approximate 200-ft).
   •   New I-Line Distribution Panel with new breakers.
   •   New 60 AMP circuit to existing Test Panel HVMV (Approximate 140-ft).


                 PO Box 801663, Houston, Texas 77280   * Tel: (330) 665-9474 * www.v2vsolution.com
      Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 39 of 144
'.
             2V Solutions LLC                                                                              Page 2

         •   New 200 AMP circuit and a new Test Panel TP2B for UPS Testing Area (Approx. 375-ft).
         •   Reroute and connect One 60 AMP and One 30 AMP existing circuits to Test Panel TP2B.
         •   EMT conduits to be installed overhead with GS supports mounted on existing roof
             structure in Control Plant area.
         •   All conduits and conductors shall be sized per NEe. Panels and breakers shall be Square D
             standard AIC rating and Conductors shall be insulated copper and to be terminated per
             TIC standards. Grounding installation per TIC requirements.
         •   Work to be performed by Licensed Journeymen Electricians. Connection Work at
             Substation to be performed under the supervision of TIC facility maintenance department
             during off-peak hours.
        •    All existing equipment to be removed by TIC prior to work commencement.
        •    All work to be completed in segments over several weekends
        •    Code Compliance and Fire Marshall Inspection.
        •    Daily clean-up and keeping the work area free of debris

     PROJECT FEE:

     V2V Solutions will provide turnkey replacement of existing Control Plant Tester circuits and a
     new 480V 400 AMP feeder for proposed TMPE Area build-out in accordance with the signed
     agreement. Compensation for this scope will be on a lump-sum basis and will be invoiced at
     milestone and percentage complete.

        Lump sum amount for control plant tester circuits replacement:

             •    CP tester circuits replacement and new 480V/400 AMP feeder                   $191,500.00

     V2V Solutions appreciates the opportunity to provide you with our services and I look forward to
     working with Toshiba Industrial Division Facility.

     Sincerely,




     Vinod Vemparala
     President and Member,
     V2V Solutions LLC




                       PO Box 801663, Houston, Texas 77280   * Tel: (330) 665-9474 * www.v2vsolution.com
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       Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 42 of 144


             Senneg Industrial Inc.
                                                Quotation Date   Quotation #            RFQ#
                                                                               Control Plant Tester
Mr. Pablo D'Agostino                                                           Circuits Replacement and
                                                                 SM14-12-
Corporate Facilities Manager                    12/01/2014
                                                                   OIA         a new 480V 400 AMP
Toshiba International Corporation (TIC)
                                                                               feeder Proposal
13131 West Little York Rd
Houston, Texas 77041


Subject:       Proposal for Control Plant Tester Circuits Replacement and a new 480V 400
               AMP feeder at Toshiba International Corporation


Sermeg Industrial, Inc. is an construction management and design firm that provides
comprehensive manufacturing design layouts, process evaluations, cost containment studies,
and supports in the implementation of all the above. Based in Georgia, we have assisted several
manufacturing outfits with our know-how and have demonstrated to several companies
internationally, value-added benefits of using our knowledge-base. We are primarily in the
manufacturing, design, and construction segments.

We work with our customers and on their behalf to assess their design needs and ultimately
create value by generating long term efficiencies. We have reviewed the turnkey replacement of
existing Control Plant Tester circuits and a new 480V 400 AMP feeder for proposed TMPE Area
build-out needs and are pleased to submit this construction price proposal for your
consideration. Our understanding of the proposed project is summarized as:


SCOPE OF WORK

Our personnel will assess and obtain the necessary information at the facility to minimize the
disturbance due to the construction. Following is a general outline of the construction items:

   •     Pre-construction meetings with the TIC plant personnel
   •     Approvals from TIC on the construction schedule and temporary close-downs
   •     Project management & construction permits
   •     New 480V 30 400 AMP primary feeders from Nehl substation
   •     New I-Line Distribution Panel with new breakers
   •     New 60 AMP circuit to existing Test Panel HVMV
   •     New 200 AMP circuit and a new Test Panel TP2B for UPS Testing Area
   •     Reroute and connect 60 AMP and 30 AMP existing circuits to Test Panel TP2B.
   •     All conduits and conductors shall be sized per NEC.
   •     All panels and breakers shall be Square D standard AIC rating.


                               335 Stedford Lane, Johns Creek, GA 30097
                            Case    4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 43 of 144

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                                                    Senneg Industrial Inc.
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                         •               All conductors shall be insulated copper and to be terminated per TIC standards.
                         •               EMT conduits to be installed overhead with GS supports mounted on existing roof
                                         structure.
                         •               Grounding installation per TIC requirements.
                         •               Power to Electric powered equipment shall be shall be by TIC.
                         •               Core existing walls for the new conduits.
                         •               All connections shall be performed in presence of TIC personnel and shall be tested prior
                                         to placement in service.
                         •               All existing equipment to be removed by TIC.
                         •               Maintain critical delivery schedule, the work shall be performed in phases. All work to be
                                         completed in segments over several weekends
                         •               Construction inspection and material testing, code compliance and engineer inspections.
                         •               Daily clean-up and disposal of refuse materials.

                  CONSTRUCTION ESTIMATE:

                      Our estimate in the amount of $196,950.00 for the proposed turnkey replacement of existing
                      tester circuits and a new 480V/ 400AMP feeder for proposed TMPE area is based on the
                      information provided and may need to be revised once the final contract documents are
                      received.

                                         •          Turnkey replacement of existing tester circuits for TMPE area   $196,950.00


                  SCHEDULE DURATION:

                      After mutually agreeing to the Notice to Proceed date, we will mobilize to the jobsite and
                      provide a detailed construction schedule. We feel that the Work can be completed within 60
                      days after mobilization.

                  We are a fully insured and bonded construction company and have completed numerous
                  projects of this size and complexity. We look forward to working with you on this project.


                  Respectfully submitted,




                  V.N. Murthy
                  Construction Manager




                                                                                     Page   12
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Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 45 of 144




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                    TOSHIBA INTERNATIONAL CORPORATION                                    ~ILPr~f!!.,~n!I!.Jnc,p=" ~
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Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 46 of 144




                         Exhibit 1-E
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 47 of 144


                                                            951375

                                                                     LMosque
                                                                     da
                                                                     Digitally signed by LMosqueda
                                                                     DN: cn=LMosqueda,
                                                                     email=Lilly.Mosqueda@tic.toshiba
                                                                     .com
                                                                     Date: 2015.06.05 10:25:43 -05'00'
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 48 of 144
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                          Exhibit 1-F
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      TOSHIBA INTERNATIONAL  4:19-cv-04274
                                 MTR       Document 30-1 Filed on 12/08/19 in TXSD Page 89 of 144
      13131 WEST LITTLE YORK RD
      HOUSTON, TX
      77041                                                                                   01-15-16                         1
                                                                                                                    951568

                                                                                                          MOSQUEDA, LILLY
      KIT CONSTRUCTION SERVICES INC
      2000 WEST SAM HOUSTON PKWY S
      SUITE 1400                                                                                     NAICS
      HOUSTON, TX
      77042
                                                                        XX-XXXXXXX                                  303523



                                                                                  Net 30


  FOR ALL OCEAN SHIPMENTS DESTINED FOR US PORTS, SELLER MUST PROVIDE IMPORTER
  SECURITY FILING (ISF) DATA ELEMENTS, BILL OF LADING AT THE LOWEST LEVEL
  REPORTED TO THE AUTOMATED MANIFEST SYSTEM (AMS) AND COMMERCIAL INVOICE AT LEAST
  72 HOURS PRIOR TO THE LOADING OF THE VESSEL.
    SUBMIT INFORMATION TO: ISF@tic.toshiba.com
    SELLER IS RESPONSIBLE FOR ANY INACCURATE OR UNTIMELY INFORMATION SUBMITTED.
  Seller must provide the country of origin and commodity or harmonize code for
  each product listed in this Purchase Order.
  TIC STANDARD TERMS AND CONDITIONS OF PURCHASE apply unless otherwise provided
  on the face of this document. Any additional or contrary terms and any standard
  or pre-printed terms and conditions in order acknowledgements or other supplier
  documents are rejected adn shall be null and void and of no force and effect.
  TIC Standard Terms and Conditions of Purchase are available at:
  https://www.toshiba.com/tic/datafiles/Purchasing_TandC.pdf
  or by calling 1-800-231-1412
  1         1.00 EA 21000                     CONSTRUCTION IN PROCESS                          01-15-16      245000.0000     245000.00
                  Revision :

                                                                INSTALLATION OF NEW LIGHTING PROTECTION SYSTEM AT TIC
                                                                PROPOSAL # K16CSI202




                                                                                                                              Total USD
                                                                                                                             245000.00
Please state our order andlilly.mosq
                             item number on all invoices.
                                       Digitally signed by
                                       lilly.mosqueda@toshiba
                                       .com

                            ueda@tos   DN:
                                       cn=lilly.mosqueda@tos
                                       hiba.com
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Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 90 of 144




                         Exhibit 1-H
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                           Exhibit 1-I
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KIT Construction Services, Inc.         $41,550.00                9/17/2018


PO#7045529-10435 Okanella Office Remodel KIT Proposal K18CS1832-B

    90828      KCSI-8C499   11/1/2018                                11/2/2018

                             Balance          $0.00 ($3,427.88)
                                Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 113 of 144
                                                                                                 Standard Purchase Order
 TOSHI13A INTERNATIONAL CORPORATION                                                                         7045529,0
                                                                                                REQ 39881
 Toshiba International Corporation                                                              Type             Standard Purchase Order
 13131 West Little York Road                                                                    Order            7045529    1 Rev    10
 Houston, TX 77041                                                                              Order Date       17-SEP-2018
 Tel # +713-466-0277                                                                            Revision Date                                   IiIlv.mos
 Toll Free: 1-800-231-1412                                                                                                                      queda@
 Fax # +713-466-8773                                                                                             Illiana Mosqueda               toshiba.
                                                                                                Buyer                                           com
                                                                                                                 Lilly. Mosq ueda@toshiba.com
                                                                                                                                                :;r~::::,::,;:
 Delivery Address                                      Issue to Address                         NAICS code                                      ~::::,;:;::~'
 Toshiba WLY - CPP FG Dock B-16,18 - B-20              KIT CONSTRUCTION SERVICES INC            Tax ID No.       XX-XXXXXXX                     l~lHl·dVJ'




 13131 West Little York Road                           2000 WEST SAM HOUSTON PKWY S             Contract No.     ,
 Houston, TX 77041                                     HOUSTON, TX 77042
 United States                                         United States
 Attn: IlIianaMosq ueda



I Bill to Address: 13131 West Little York Road, Houston, TX   77041 United States                                                                                I
 Confirm To                                      Vendor Telephone                   Requester Name
                                                                                    Michael, Anna L

 Supplier Number                     Payment Terms      1 Freight Terms / Carrier                                  IINCOTERMS
 TOBRK1U                             N30 Net 30 Days    I                                                          I
 Named Place
 References to INCOTERMS are to INCOTERMS 2010.

 FOR ALL OCEAN SHIPMENTS DESTINED FOR US PORTS, SELLER MUST PROVIDE IMPORTER SECURITY FILLING (ISF) DATA ELEMENTS, BILL OF
 LADING AT THE LOWEST LEVEL REPORTED TO THE AUTOMATED MANIFEST SYSTEM (AMS) AND COMMERCIAL INVOICE AT LEAST 72 HOURS PRIOR
 TO THE LOADING OF THE VESSEL. SUBMIT INFORMATION TO: TIC-ISF@TOSHIBA.COM. SELLER IS RESPONSIBLE FOR ANY INACCURATE OR UNTIMELY
 INFORMATION SUBMITTED.

 SELLER MUST PROVIDE THE COUNTRY OF ORIGIN, ECCN AND COMMODITY OR HARMONIZE CODE FOR EACH PRODUCT LISTED IN THIS PURCHASE
 ORDER.

 TOSHIBA INTERNATIONAL CORPORATION ("TIC") STANDARD TERMS AND CONDITIONS OF PURCHASE APPLY UNLESS OTHERWISE PROVIDED ON THE
 FACE OF THIS DOCUMENT. ANY ADDITIONAL OR CONTRARY TERMS AND ANY STANDARD OR PRE-PRINTED TERMS AND CONDITIONS IN ORDER
 ACKNOWLEDGEMENT OR OTHER SUPPLIER DOCUMENTS ARE REJECTED AND SHALL BE NULL AND VOID AND OF NO FORCE AND EFFECT.
 TIC STANDARD TERMS AND CONDITIONS OF PURCHASE ARE AVAILABLE AT: http://www.toshiba.com/ind/Purchasing TandC.pdf or by calling 1-800-231-1412


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                                                                                                                                           Page 1 of 3
                                 Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 114 of 144
                                                                                                  Standard Purchase Order
    TOSHIBA INTERNATIONAL CORPORATION                                                                         7045529,0

    Notes: All price and amounts are expressed in USD currency




    Line   I TIC Part No.          litem Description I Supplier Part No. I   I Delivery Date     I Quantity    IUOM     I Unit Price     I Extended Price
                                     Job Number I Assembly I Operation
     1                               10435 Okanella Offices Remodel - KIT     24-SEP-2019         41550.00      Each      1.0000          41,550.00
            Revision:                Proposal K18CSI832B I
                                     Note to Supplier:
    1-1     Ship To:                 Promised:                                                    41550         Each
            Toshiba WLY - CPP        24-SEP-2019
            FG Dock B-16,18 - B- Needed:
            20                       24-SEP-2019
            13131 West Little York
            Road
            Houston, TX 77041
            United States




I                                                                                                                                                   Total USD
                                                                                                                                                    41,550.00
                                                                                                                                                                I




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                                                                                                                                                 Page 2 of 3
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                                                                                              Standard Purchase Order
TOSHIBA INTERNATIONAL CORPORATION                                                                       7045529,0




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                                                                                                                                            Page 3 of 3
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Michael, Anna (TIC)

From:                                 Workflow Mailer TICPROD <TIC-EBSS24@toshiba.com>
Sent:                                 Monday, September 17, 2018 10:08 AM
To:                                   Michael, Anna (TIC)
Subject:                              FYI: Purchase Requisition 39881 has been approved
Attachments:                          Notification Detail.html


Time       (GMT           Pacific
       Information
 The current responsibility context has been switched to: Alert Manager
From    Robinson, Donnie                             Description
                                                              KIT Construction Services, Inc. -10435 Okanella Offices
  To    Michael, Anna                                         Remodel- KIT Proposal K18CSI832B
Sent    17-Sep-201817:06:51                 Requisition Total 41;550.00 USD
   ID   1050480                         Non-Recoverable Tax 0.00 USD
                                               Attachments


Requisition Lines
                                                                                   Cost
Line Description                              Supplier                             Center         Unit Qu
     10435 Okanella Offices Remodel      KIT KIT CONSTRUCTION
                                                                                   1378000
    IPrClOos,al K18CSI832B                            INC
Approval Sequence


                    -'------------------------l-..
                    TIC FINANCE APPROVER
                                                     t-..J.....------------------------.....,.--IIot-~----------------------------~--
                                                                                             TIC CHAIN OF COMMAND
                                                                                                                                        Approved




Num       Name                                                                           Action          Action Date                     Note
                                                                                        Submitted




                                                                       1
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Req#39881

KIT Construction Services, Inc. - 10435 Okanella Offices Remodel - KIT Proposal K18CSI832B

10435 Okanella Offices Remodel - KIT Proposal K18CSI832B

KIT C, One Point, & V2V Solutions proposals attached   Please expedite PO and email to Sudhakar Kalaga
 SKALAGA@kitprofs.com

Sudhakar Kalaga - SKALAGA@kitprofs.com

713-783-8700

$41,550.00
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 118 of 144




                                                    Type iPulrchase Requi
        Description                                Status


                   Source Details        Details



       Num                                                  Rev
 IFI                                                                                 Okanella Offices

   !




       Destination Type                                                        Source
             Requester              Anna L                                    Supplier
           Organization      CTL-PEP Plant                                        Site
               Location             WLY - CPP FG Dock B·                      Contact             Kalaga - SKALAGJ
          Sub inventory                                                         Phone

                                                      Qatalog...            Qistributions
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 119 of 144




           Number                        Type IPurchase Requi           Preparer        Anna L
     Description                        Status ri~~~;;pl';t; ,              Total                    41,550.00


   Lines

                                                        RFQ Required                      Document
    Num                                                                         Item
                                                    IIliana C




    Destination Type                                                      Source
           Requester                                                     Supplier
        Organization    CTL-PEP Plant                                         Site
             Location      WLY - CPP FG Dock B,                          Contact
                                                                           Phone

                                           Qatalog...                  !distributions
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 120 of 144




                                                          May Be Changed
                                                              I;;          ~

                                                              r;;



  Entity Name: REO Line




                                  Open Qocument...
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 121 of 144




                                                     for 10435 Okanella Offices Remc   ~




  Entity Name: REQ Line




                                  Open Qocument...
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 122 of 144



                           Construction Services, Inc.


 September 14, 2018


 Mr. Pablo D'Agostino
 Sr. Corporate Facilities Manager
 Toshiba International Corporation (TIC)
 13131 West Little York Rd
 Houston, Texas 77041



 Ref:    Proposal for 10435 Okanella Offices Remodel
         KIT proposal K18CSI832B


 Dear Mr. D'Agostino,


 It is our understanding that Toshiba International Corporation (TIC) intends to remodel existing
 office space in the Warehouse facility located at 10435 Okanella, Houston, Texas 77041.


 After meeting with you, making field visits, and researching available background information on
 adjacent area, we have derived at the following scope of work and the construction cost.


 KIT Construction Services, Inc. (KCSI), is pleased to submit this proposal to complete the project
 as follows.
    •   Identification and deenergizing power circuits of wall outlets for abandonment.
    •   Reestablishment of power circuits for the lights.
    •   Demolition of existing partition walls for the 7 offices.
    •   Construction of a new wall section to provide separation from the front office space.
    •   Patch sheetrock of sidewalls after removal of partition walls.
    •   Installation of a new entry door for this new open space. Door shall have panic
        hardware for exit.
    •   Replacement of selected ceiling tiles damaged during demolition.
    •   Painting of perimeter wall after removal and patching.
    •   All furniture and other belongings shall be removed by Owner prior to mobilization.
    •   This proposal does not include any plumbing, network data or HVAC related
        adjustments.
    •   This proposal does not include any flooring replacement and/or patching.
    •   Keep the work area free of debris and final clean-up.
    •    Maintain barrier around work space.
    •   Permit revision and re-inspection for occupancy certificate.
    •   Work to be performed during normal business hours.
    •   All work to be performed under supervision of Facility Maintenance Department.
        2000 W Sam Houston Parkway S, Suite 1400, Houston, Texas 77042 .. Tel: 713-783-8700 .. Fax: 713-783-8747
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 123 of 144


                                                                                    KIT Construction Services, Inc.


 TOTAL LUMP SUM PRICE:


     KIT Construction Services, Inc. will provide the above described construction services in
     accordance TIC purchase order.

     Lump Sum amount for 10435 Okanella Office Remodel:                                                          $41,550.00**

         ** PRICE EXCLUDES: Applicable taxes and alterations from the above specifications.
         All material shall be as specified. All work to be completed in a workmanlike manner according to standard
         practices. Any alteration or deviation from above specifications involving extra cost will be executed only upon
         written orders and will become an extra charge over and above the estimate. All agreements contingent upon
         strikes, accidents, or delays beyond our control. Owner to carry fire, tornado, and any other necessary insurances.

         This proposal is further qualified by the following: Quantities are outlined in the proposal and any scope of work
         not listed shall be assumed as not part of this lump sum scope. Any cost not provided by subcontractor / supplier
         will be assumed to be a "guess" and to be verified by owner.

         "Regulated by The Texas Department of Licensing and Registration, P.O. Box 12157 Austin, TX 78111, 1-800-
         803-9202. " Quotation is valid for 30 days from the date on this proposal.


 Project Schedule:

         The work can be completed per schedule after receiving the TIC Purchase Order.


 KIT Construction Services, Inc. appreciates the opportunity to provide you with our services. If I
 can be of any, further service or answer any additional questions, please feel free to call me at
 (713) 972-6649. We look forward to working with you on this very important project.


 Sincerely,




 Sudhakar Kalaga, P.E.
 Project Director




                                                                                                                               Pagc2
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 124 of 144



                                   OnePoint, Inc.
                                     10804 Roark Road,
                                  Houston, Texas 77099
                                    Office: 713-777-6666
                                     Fax: 713-777-5329
                                     Cell: 713-292-7635
                             E-mail: ajoseph@onepointinc.com




      September 15, 2018

      Pablo D'Agostino
      Corporate Facilities Manager
      Toshiba International Corporation
      13131 West Little York
      Houston, Texas 77041

      Project No. 4256-18

      RE: Okanella (2) Office removal

      The Scope of the work, based on meetings with Pablo D'Agostino,
      Corporate Facilities Manager is to include the following;

         •   Identify and deenergize power circuits of wall outlets for
             abandonment
         •   Re establishment of power circuits for lights
         •   Demolishment of existing partition walls for the 7 offices
         •   Construction of new wall section to provided separation from front
             office space
         •   Patch sheetrock of side walls after removal of partition walls
         •   Installation of new Entry door for the new open space. Door shall
             have panic hardware for Exit
         •   Replacement of selected ceiling tiles damaged during demolition
         •   Painting of perimeter walls after removal and patching
         •   All furniture's and other belongings shall be removed by Owner prior
             to mobilization
         •   The proposal does not included plumbing, network data or HVAC
             related adjustments
         •   The proposal does not include any Flooring replacement and/or
             patching
         •   Keep work areas free of debris and final clean up
         •   Maintain barriers around work space
         •   Permit revisions and re-inspection for Occupancy certificate
         •   Work will be performed during normal business hours
         •   All work will be performed under supervision of Facility Maintenance
             Department.

                                             - 1-
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      Total Price                                                                                     $45,650.00


      Exclusions:
            •    Sales Tax is not included in above price




      Respectfully submitted,




      Abraham Joseph

      Client Acceptance

      Your signature and/or Purchase Order Number on this Proposal signifies
      your acceptance of the attached Terms and Conditions and is our
      authorization to proceed with work as set out herein. Any changes to the
      Scope of Work or changes to Costs relating to those changes must be
      approved in writing prior to any commencement of work upon such changes
      and shall be attached and made part of this Scope of Work. Please fax
      (713-777-5329)or mail a signed copy of this proposal to our office upon
      acceptance.

      OnePoint, Inc.                                                  Toshiba International

      By:                                              _              By:                                             _

      Title:                                             _           Title:                                           _

      Date:                                             _             Date:                                            _


                                                      Terms and Conditions



            1.   ERRORS: OnePoint, Inc. (the Company), reserves the right to correct clerical errors appearing on the
                 face of this quotation.

            2.   DELAYS: The Company, shall not be liable for any delay in manufacture, delivery or its performance
                 hereunder due to fires, acts of God, strikes, differences with workmen, delays in transportation,
                 accidents at plants, inability to procure supplies, raw materials and transportation facilities, or other
                 contingencies beyond its control.

                                                                   - 2-
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        3.   WARRANTY: The Company is not responsible for any other conditions over which the company has no
             control. In no case shall the Company be liable for consequential damages arising from breach of any of
             the forgoing warranties.

        4.   BUYERS CONTRARY TERMS: No waiver, alterations or modifications of any of the provisions hereof
             shall be binding on the Company unless made in writing and agreed to in writing, by a duly authorized
             official of the company.

        5.   DAMAGES: The Company is not responsible for damages to or charges associated with any
             underground utilities or surrounding concrete or grass.

        6.   APPROVALS: It is presumed that the client has obtained approval from the Architect, owner, or other
             approving authority prior to the commencement of work.




                                                             - 3-
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   V2V Solutions LLC

                                                                                   September 14, 2018
Mr. Pablo 0'Agostino
Sr. Corporate Facilities Manager
Toshiba International Corporation (TIC)
13131 West Little York Rd
Houston, Texas 77041



Ref:   Proposal for TIC Warehouse 10435 Okanella Offices Remodel



Mr. 0'Agostino,

Thank you for the opportunity extended to V2V Solutions LLC. We have reviewed the
requirements of TIC warehouse 10435 Okanella offices remodel and improvements project scope
of work, all the pertinent drawings, specifications, and data sheets from TIC. This proposal is
designed to address TIC's request per the subject above with a systematic and methodical
approach.

Our personnel with expertise in manufacturing areas design and installations, customers receive
the highest degree of professionalism and service. They are knowledgeable and vastly experienced
at not only the design and installation aspects, but also assist you in preparing the necessary
documents required by the local governing agencies.

PROJECT SCOPE:
   • Identification and deenergizing power circuits of wall outlets for abandonment.
   • Reestablishment of power circuits for the lights.
   • Demolition of existing partition walls for the 7 offices.
   • Construction of a new wall section to provide separation from the front office space.
   • Patch sheetrock of sidewalls after removal of partition walls.
   • Installation of a new entry door for this new open space. Door shall have panic hardware
      for exit.
   • Replacement of selected ceiling tiles damaged during demolition.
   • Painting of perimeter wall after removal and patching.
   • All furniture and other belongings shall be removed by Owner prior to mobilization.
   • This proposal does not include any plumbing, network data or HVAC related adjustments.
   • This proposal does not include any flooring replacement and/or patching.
   • Keep the work area free of debris and final clean-up.
   •   Maintain barrier around work space.
   •   Permit revision and re-inspection for occupancy certificate.
   •   Work to be performed during normal business hours.
   •   All work to be performed under supervision of Facility Maintenance Department.


                  PO Box 801663, Houston, Texas 77280   * Tel: (216) 246-8858 * www.v2vsolution.com
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                                                                                                                                   2




PROJECT FEES & SCHEDULE:

V2V Solutions will provide above services in accordance with the signed agreement. Compensation
for this scope will be on a lump-sum basis. Compensation for this scope will be on a lump-sum
basis and will be invoiced on percentage complete each month.

   •   Total cost of this project                                                                                  $48,750.00*

   1   Price excludes: applicable sales tax, overtime labor and any alterations from the above specifications
   2   Quote is valid for 30 days
   3   Additional fees will be assessed for any alterations from the above specifications
   4   V2V Solutions shall not be liable for any delays or defaults hereunder by reason of accident, fire, flood, weather conditions,
       acts of God, labor troubles, delays or defaults beyond its reasonable control


Upon receipt of the purchase order and signed contract, V2V Solutions will provide a detailed
project timeline. I once again thank you for the opportunity to provide you with our services and
I look forward to working with Toshiba Industrial Division Facility.

Sincerely,




Vinod Vemparala
President and Member,
V2V Solutions LLC




                    PO Box 801663, Houston, Texas 77280           * Tel: (216) 2468858 * www.v2vsolution.com
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 129 of 144

                    KIT Construction Services, Inc.
                                                                                    BUILDING TRUST & CONFIDENCE. ..
                    Engineers. Planners. Construction Managers



November 1,2018


Toshiba International Corporation (TIC)
13131 West Little York Rd
Houston, Texas 77041

Attn:        Mr. Pablo 0' Agostino
             Sr. Corporate Facilities Manager


Ref:         Invoice # 1 (KCSI-8C499)
             10435 Okanella TIC Warehouse Facility Offices Remodel
             Toshiba International Corporation - Industrial Division Facility
             13131 West Little York Rd, Houston, Texas 77041
             TOSHIBA PO # 7045529; Item #1; Supplier # 303523; KIT Job # K18CSI832B

Dear Mr. Pablo 0' Agostino,
Please find below invoice for the above referenced project.
                                                                     Contract      Percent
                                                                     Amount       Complete      Amount Complete

         I 10435 Okanella TIC Warehouse Facility Offices             $41,550.00    100.00%             $41,550.00
           Remodel


TOTAL AMOUNT FOR THIS PERIOD                                                                           S41,550.00

PREVIOUSLY INVOICED AMOUNT                                                                                      SO.OO
AMOUNT FOR THIS INVOICE                                                                                $41,550.00
SALES TAX FOR THIS INVOICE (8.25%)                                                                       $3,427.88

TOTAL SALES TAX INVOICED TODATE                                                                          S3,427.88
TOTAL AMOUNT INVOICED TODATE INCLUDING SALES TAX                                                       S44,977.88
PREVIOUSLY INVOICED TOTAL AMOUNT INCLUDING SALES TAX                                                            SO.OO

TOTAL AMOUNT DUE THIS INVOICE                                                                          $44,977.88



KIT Construction Services, Inc. appreciates the opportunity to provide you with our services. If 1 can be of any,
further service or answer any additional questions, please feel free to call me at (713)783-8700.

Sincerely,
                                                                 PLEASE MAKE CHECK PAYBLE TO:

                                                              KIT CONSTRUCTION SERVICES, INC.

                                                                          EIN # XX-XXXXXXX
Sudhakar Kalaga, P.E.                                              TIC Vendor / Supplier #: 303523
President



        2000 W Sam Houston Parkway S, Suite 1400, Houston, Texas n042 • Tel: 713-783-8700 • Fax: 713-783-8747
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 130 of 144




                          Exhibit 1-J
    Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 131 of 144


KIT Construction Services, Inc.         $32,450.00                  9/17/2018

PO#7045528-10510 Okanella Warehouse Storage Racks Shelf Addition-
KIT Proposal K18CSI832A

    90826      KCSI-8C498   11/1/2018      $32A50.00   $35,127.13      11/2/2018
                                           $32A50.00   $35,127.13
                             Balance           $0.00 ($2,677.13)
                                Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 132 of 144
                                                                                                 Standard Purchase Order
 TOSHIBA INTERNATIONAL CORPORATION
                                                                                                            7045528,0
                                                                                                REQ 39880
 Toshiba International Corporation                                                              Type              Standard Purchase Order
 13131 West Little York Road                                                                    Order             7045528    I Rev    10
 Houston, TX 77041                                                                              Order Date        17-SEP-2018
 Tel # +713-466-0277                                                                            Revision Date                                  lilly.mo

 Toll Free: 1-800-231-1412                                                                                                                     @toshi
 Fax # +713-466-8773                                                                                              IIliana Mosqueda             ba.com
                                                                                                Buyer
                                                                                                                  Lilly.Mosqueda@toshiba.com
                                                                                                                                                ;;;
                                                                                                                                                ;:':;;~::
 Delivery Address                                      Issue to Address                         NAICS code
 Toshiba WLY - CPP FG Dock B-16,18 - B-20              KIT CONSTRUCTION SERVICES INC            Tax ID No.        XX-XXXXXXX                    ;~~';,w
 13131 West Little York Road                           2000 WEST SAM HOUSTON PKWY S             Contract No.      ,
 Houston, TX 77041                                     HOUSTON, TX 77042
 United States                                         United States
 Attn: IliianaMosqueda



I Bill to Address: 13131 West Little York Road, Houston, TX   77041 United States                                                                           I
 Confirm To                                      Vendor Telephone                   Requester Name
                                                                                    Michael, Anna L

 Supplier Number                     Payment Terms      I Freight Terms / Carrier                                   IINCOTERMS
 TOBRK1U                             N30 Net 30 Days    I                                                           I
 Named Place
 References to INCOTERMS are to INCOTERMS 2010.

 FOR ALL OCEAN SHIPMENTS DESTINED FOR US PORTS, SELLER MUST PROVIDE IMPORTER SECURITY FILLING (ISF) DATA ELEMENTS, BILL OF
 LADING AT THE LOWEST LEVEL REPORTED TO THE AUTOMATED MANIFEST SYSTEM (AMS) AND COMMERCIAL INVOICE AT LEAST 72 HOURS PRIOR
 TO THE LOADING OF THE VESSEL. SUBMIT INFORMATION TO: TIC-ISF@TOSHIBACOM. SELLER IS RESPONSIBLE FOR ANY INACCURATE OR UNTIMELY
 INFORMATION SUBMITTED.

 SELLER MUST PROVIDE THE COUNTRY OF ORIGIN, ECCN AND COMMODITY OR HARMONIZE CODE FOR EACH PRODUCT LISTED IN THIS PURCHASE
 ORDER.

 TOSHIBA INTERNATIONAL CORPORATION ("TIC") STANDARD TERMS AND CONDITIONS OF PURCHASE APPLY UNLESS OTHERWISE PROVIDED ON THE
 FACE OF THIS DOCUMENT. ANY ADDITIONAL OR CONTRARY TERMS AND ANY STANDARD OR PRE-PRINTED TERMS AND CONDITIONS IN ORDER
 ACKNOWLEDGEMENT OR OTHER SUPPLIER DOCUMENTS ARE REJECTED AND SHALL BE NULL AND VOID AND OF NO FORCE AND EFFECT.
 TIC STANDARD TERMS AND CONDITIONS OF PURCHASE ARE AVAILABLE AT: http://www.toshiba.com/ind/Purchasing TandC.pdf or by calling 1-800-231-1412


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                                                                                                                                            Page 1 of 3
                                  Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 133 of 144
                                                                                                  Standard Purchase Order
    TOSHIBA INTERNATIONAL. CORPORATION
                                                                                                             7045528,0

    Notes: All price and amounts are expressed in USD currency




    Please formally accept this order by 20-SEP-2018

    Line   I TIC Part No.          litem Description I Supplier Part No. I   I Delivery Date    I Quantity    IUOM      I Unit Price    I Extended Price
                                     Job Number I Assembly I Operation
     1                               10510 Okanella Warehouse Storage         17-SEP-2018         32450.00      Each     1.0000           32,450.00
            Revision:                Racks Shelf Addition - KIT Proposal
                                     K18CSI832A /
                                     Note to Supplier:
    1-1     Ship To:                 Promised:                                                    32450         Each
            Toshiba WLY - CPP        17-SEP-2019
            FG Dock B-16,18 - B- Needed:
            20                       17-SEP-2018
            13131 West Little York
            Road
            Houston, TX 77041
            United States




I                                                                                                                                                  Total USD
                                                                                                                                                   32,450.00
                                                                                                                                                               I




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                                                                                                                                                Page 2 of 3
                             Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 134 of 144
                                                                                              Standard Purchase Order
TOSHIBA INTERNATIONAL CORPORATION                                                                       7045528,0




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                                                                                                                                            Page 3 of 3
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Michael, Anna (TIC)

From:                                  Workflow Mailer TICPROD <TIC-EBSS24@toshiba.com>
Sent:                                  Monday, September 17, 2018 10:08 AM
To:                                    Michael, Anna (TIC)
Subject:                               FYI: Purchase Requisition 39880 has been approved
Attachments:                           Notification Detail.html


Time Zone (GMT -07:(0) Pacific: Time
      Information
 The current responsibility context has been switched to: Alert Manager
From    Robinson, Donnie                          Description   KIT Construction Services, Inc. -10510 Okanella Warehouse
  To    Michael, Anna                                           Storage Racks Shelf Addition - KIT Proposal K18CSI832A
Sent    17-Sep-201817:06:57                 Requisition Total   32,450.00 USD
   ID   1050481                         Non-Recoverable Tax     0.00 USD
                                               Attachments


Requisition Lines
                                                                            Cost
Lin     Description                               Supplier                  Center      Unit Quantity
     10510 Okanella Warehouse Storage Racks KIT CONSTRUCTION
                                                                            1378000
          Addition - KIT       K18CSI832A SERVICES INC
Approval


                                                                                                                     Approved




                                                                               Action        Action Date               Note
                                                                               Submitted               815:37:32
                                                                                             1         815:50:15
                                                                                             17-Sep-201816:22:21
                                                                                             1         816:32:22
                                                                                             1         816:36:22
                                                                                             17-Sep-2018 17:06:56




                                                                  1
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Req#39880

KIT Construction Services, Inc. - 10510 Okanelia Warehouse Storage Racks Shelf Addition - KIT Proposal
K18CSI832A

10510 Okanelia Warehouse Storage Racks Shelf Addition - KIT Proposal K18CSI832A

KIT C, V2V Solutions, & One Point proposals attached - Please expedite PO and email to Sudhakar Kalaga
- SKALAGA@kitprofs.com

Sudhakar Kalaga - SKALAGA@kitprofs.com

713-783-8700

$32,450.00
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        Number                                  Type [Purchase Requi                     Preparer                         Anna L
    Description                                Status li~~~;;:;pl;i;"                          Total                                           32,450.00


               Source Details        Details



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   Destination Type                                                                        Source
         Requester                                                                        Supplier
       Organization      CTL-PEP Plant                                                          Site
                                WLY - CPP FG Dock B·                                      Contact
                                                                                            Phone

                                                  Qatalog...                            Qistributions
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 138 of 144




                                          Type               Requi      Preparer     Anna L
        Description                      Status                            Total


   Lines

                                                         RFQ Required                  Document
    Num                                                                       Item
 111
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    Destination Type                                                     Source
            Requester                                                   Supplier
          Organization   CTL-PEP Plant                                      Site
              Location      WLY - CPP FG Dock B·                        Contact
                                                                         Phone

                                            Qatalog...
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 139 of 144




                                                          May Be Changed
                                                              rv           ~

                                                              p




  Entity Name: REO Line




                                  Open Qocument...
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                          Okanella Warehou$e Storage Racks Shelf Addition Proposals-KIT Conlruclion Services, V2VE




  Entity Name: REO Line




                                                  Open Qocumenl...
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                     KIT Construction Services, Inc.
                    BUILDING TRUST & CONFIDENCE




 September 14, 2018


 Mr. Pablo D'Agostino
 Sr. Corporate Facilities Manager
 Toshiba International Corporation (TIC)
 13131 West Little York Rd
 Houston, Texas 77041



 Ref:     Proposal for 10510 Okanella Warehouse Storage Racks Shelf Addition
          KIT proposal K18CSI832A


 Dear Mr. D'Agostino,


 It is our understanding that Toshiba International Corporation (TIC) intends to add shelves to
 the existing storage racks for the warehouse facility located at 10510 Okanella Street, Houston,
 Texas.


 After meeting with you and based on the site visit to review existing storage racks construction,
 KIT Construction Services, Inc. (KCSI), is pleased to submit this proposal to complete the project
 as follows:
    •     Procure and install additional wire mesh decking
          material as a top shelf only.
    •     The new decking to match existing 48-inch deep
          and 42-inch racks. The decking shall have 2750 Ibs.
          UDL capacity.
    •     The proposal considers 58" wide Waterfall Wire
          Decking for existing beams for top row.
    •     Repair damaged posts to facilitate new storage
          height adjustment.
    •     Scissor Lift rental for duration of the project
    •     Keep the work area free of debris and final clean-
          up.
    •     Maintain barrier around work space.
    •     Work to be performed during normal business
          hours.
    •     All work to be performed under supervision of Facility Maintenance Department.

          2000 W Sam Houston Parkway S, Suite 1400, Houston, Texas 77042 .. Tel: 713-783-8700 .. Fax: 713-783-8747
Case 4:19-cv-04274 Document 30-1 Filed on 12/08/19 in TXSD Page 142 of 144


                                                                                   KIT Construction Services, Inc.


TOTAL LUMP SUM PRICE:

    KIT Construction Services, Inc. will provide the above described construction services in
    accordance TIC purchase order.

    Lump Sum amount for 10510 Okanella Warehouse Storage Racks Shelf addition:                                 $32,450.00**

         ** PRICE EXCLUDES: Applicable taxes and alterations from the above specifications.
        All material shall be as specified. All work to be completed in a workmanlike manner according to standard
        practices. Any alteration or deviation from above specifications involving extra cost will be executed only upon
        written orders and will become an extra charge over and above the estimate. All agreements contingent upon
        strikes, accidents, or delays beyond our control. Owner to carry fire, tomado, and any other necessary
        insurances.

        This proposal is further qualified by the following: Quantities are outlined in the proposal and any scope of work
        not listed shall be assumed as not part of this lump sum scope. Any cost not provided by subcontractor /
        supplier will be assumed to be a "guess" and to be verified by owner.

         "Regulated by The Texas Department of Licensing and Registration, P.o. Box 12157 Austin, TX 78111, 1-800-
         803-9202. " Quotation is valid for 30 days from the date on this proposal.



 Project Schedule:


        The work can be completed within 4-6 weeks after receiving the TIC Purchase Order.



 KIT Construction Services, Inc. appreciates the opportunity to provide you with our services. If I
can be of any, further service or answer any additional questions, please feel free to call me at
 (713) 972-6649. We look forward to working with you on this very important project.


Sincerely,




Sudhakar Kalaga, P.E.
 Project Director




                                                                                                                             Page 2
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   V2V Solutions LLC

                                                                                    September 14, 2018
Mr. Pablo D'Agostino
Sr. Corporate Facilities Manager
Toshiba International Corporation (TIC)
13131 West Little York Rd
Houston, Texas 77041



Ref:    Proposal for TIC Warehouse 10510 Okanella Storage Racks Additional Shelf



Mr. D' Agostino,

Thank you for the opportunity extended to V2V Solutions LLC. We have reviewed the
requirements of TIC warehouse 10510 Okanella storage racks additional shelf and improvements
project scope of work, all the pertinent drawings, specifications, and data sheets from TIC. This
proposal is designed to address TIC's request per the subject above with a systematic and
methodical approach.

Our personnel with expertise in manufacturing areas design and installations, customers receive
the highest degree of professionalism and service. They are knowledgeable and vastly experienced
at not only the design and installation aspects, but also assist you in preparing the necessary
documents required by the local governing agencies.

PROJECT SCOPE:

   ..   Procure and install additional wire mesh decking material as a top shelf only.
   •    The new decking to match existing 48-inch deep and 42-inch racks. The decking shall have
        2750 Ibs. UDL capacity.
   •    The proposal considers 58" wide Waterfall Wire Decking for existing beams for top row.
   ..   Repair damaged posts to facilitate new storage height adjustment.
   •    Scissor Lift rental for duration of the project
   •    Keep the work area free of debris and final clean-up.
   ..   Maintain barrier around work space.
   •    Work to be performed during normal business hours.
   ..   All work to be performed under supervision of Facility Maintenance Department.

PROJECT FEES & SCHEDULE:

V2V Solutions will provide above services in accordance with the signed agreement. Compensation
for this scope will be on a lump-sum basis. Compensation for this scope will be on a lump-sum
basis and will be invoiced on percentage complete each month.

                   PO Box 801663, Houston, Texas 77280   * Tel: (216) 246-8858 * www.v2vsolution.com
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                                                                                                                                   2




   •   Total cost of this project                                                                                  $39,950.00*

   1   Price excludes: applicable sales tax, overtime labor and any alterations from the above specifications
   2   Quote is valid for 30 days
   3   Additional fees will be assessed for any alterations from the above specifications
   4   V2V Solutions shall not be liable for any delays or defaults hereunder by reason of accident, fire, flood, weather conditions,
       acts of God, labor troubles, delays or defaults beyond its reasonable control


Upon receipt of the purchase order and signed contract, V2V Solutions will provide a detailed
project timeline. I once again thank you for the opportunity to provide you with our services and
I look forward to working with Toshiba Industrial Division Facility.


Sincerely,




Vinod Vemparala
President and Member,
V2V Solutions LLC




                     PO Box 801663, Houston, Texas 77280          * Tel: (216) 2468858 * www.v2vsolution.com
